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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


 PARKERVISION, INC.,

                             Plaintiff,

                v.

 TCL INDUSTRIES HOLDINGS CO.,
                                                       Case No. 6:20-cv-00945
 LTD., TCL ELECTRONICS HOLDINGS
 LTD., SHENZHEN TCL NEW
                                                       JURY TRIAL DEMANDED
 TECHNOLOGY CO., LTD., TCL KING
 ELECTRICAL APPLIANCES
 (HUIZHOU) CO., LTD., TCL MOKA
 INT’L LTD., and TCL MOKA
 MANUFACTURING S.A. DE C.V.,

                            Defendants.


                     COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff ParkerVision, Inc. (“ParkerVision”), by and through its undersigned

counsel, files this Complaint against Defendants TCL Industries Holdings Co., Ltd.,

TCL Electronics Holding Ltd. (f/k/a TCL Multimedia Technology Holdings Ltd.),

Shenzhen TCL New Technology Co., Ltd., TCL King Electrical Appliances (Huizhou)

Co., Ltd., TCL Moka Int’l Ltd., and TCL Moka Manufacturing S.A. de C.V. (collectively,

“TCL” or “Defendants”) for patent infringement of United States Patent Nos. 6,049,706;

6,266,518; 6,580,902; 7,110,444; 7,292,835; 8,588,725; 8,660,513; 9,118,528; 9,246,736 and

9,444,673 (the “patents-in-suit”) and alleges as follows:
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                               NATURE OF THE ACTION

       1.     This is an action for patent infringement arising under the patent laws of

the United States, 35 U.S.C. §§ 1 et seq.

                                            PARTIES

       2.     Plaintiff ParkerVision is a Florida corporation with its principal place of

business at 9446 Philips Highway, Jacksonville, Florida 32256.

       3.     Defendant TCL Industries Holdings Co., Ltd. (“TCL Industries”) is a

Chinese corporation with a principal place of business located at 22/F, TCL Technology

Building, 17 Huifeng 3rd Road, Huizhou, Guangdong, 516000 P.R. China.

       4.     Defendant TCL Electronics Holdings Ltd. (f/k/a TCL Multimedia

Technology Holdings Ltd.) (“TCL Electronics”) is a limited liability company

incorporated in the Cayman Islands with a registered address at P.O. Box 309, Ugland

House, Grand Cayman, KY1-1104, Cayman Islands. TCL Electronics has a principal

place of business at 7/F, Building 22E, 22 Science Park East Avenue, Hong Kong Science

Park, Sha Tin, New Territories, Hong Kong.

       5.     Defendant Shenzhen TCL New Technology Co., Ltd. (“TCL New

Technology”) is a foreign corporation duly organized under the laws of the People’s

Republic of China with a principal place of business located at 9/F, Building D4, TCL

International E City, No. 1001, Zhongshan Park Road, Nanshan District, Shenzhen,

Guangdong, 518067 P.R. China.

       6.     Defendant TCL King Electrical Appliances (Huizhou) Co., Ltd. (“TCL

King”) is a foreign corporation duly organized under the laws of the People’s Republic


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of China with a principal place of business located at No. 78 Zhongkai Development

Zone, Huizhou, 516006 P.R. China.

      7.     Defendant TCL Moka Int’l Ltd. (“TCL Moka”) is a foreign corporation

duly organized under the laws of Hong Kong with a principal place of business located

at 7/F, Building 22E, 22 Science Park East Avenue, Hong Kong Science Park, Sha Tin,

New Territories, Hong Kong.

      8.     Defendant TCL Moka Manufacturing, S.A. de C.V. (“TCL Moka

Manufacturing”) is a Mexican corporation with a principal place of business located at

Camino Vecinal 2472, colonia, Canon del Padre, Tijuana Baja California.

      9.     On information and belief, TCL Industries is a holding company and the

ultimate corporate parent of Defendants TCL Electronics, TCL New Technology, TCL

King, TCL Moka, and TCL Moka Manufacturing. See TCL Electronics Holding Limited

Annual Report 2019 (available at

https://doc.irasia.com/listco/hk/tclelectronics/annual/2019/ar2019.pdf) (Exhibit 1).




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 Ex. 1 at p. 134


       10.      On information and belief, TCL Electronics is a parent of TCL’s television

business group, comprising subsidiaries that manufacture, market, offer for sale, and

sell television products, including the accused infringing products, in the United States,

the State of Texas, and this judicial district. See, e.g.,

http://electronics.tcl.com/en/about/overview.php (“[TCL Electronics] is one of the

leading players in the global TV industry, and is engaged in the research and

development, manufacturing and distribution of consumer electronic products.”). TCL

New Technology is a “principal subsidiary” of TCL Electronics with “principal

activities” of “[m]anufacture and sale of TV products.” See Ex. 1 at p. 135. TCL King is a



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“principal subsidiary” of TCL Electronics with “principal activities” of “[m]anufacture

and sale of TV products and trading of components.” See id. at p. 136. TCL Moka

Manufacturing is a “principal subsidiary” of TCL Electronics with “principal activities”

of “manufacture and sale of TV products.” See id. at p. 137. TCL Moka is a “principal

subsidiary” of TCL Electronics and, on information and belief, is similarly involved in

the manufacture, sale, and trading of TCL television products and components. See id.

at p. 138.

       11.    On information and belief, Defendants comprise a “vertically integrated

industrial chain,” and thus act in concert to design, manufacture, sell, offer for sale,

import, distribute, advertise, and/or otherwise promote the accused infringing

products in the United States, the State of Texas, and this judicial district. See, e.g., Ex. 1;

TCL Electronics Holding Limited Interim Report 2020 (available at

https://doc.irasia.com/listco/hk/tclelectronics/interim/2020/intrep.pdf) (Exhibit 2)

(“Benefitting from its leading positions in integrated supply chain, global channels,

production capacity layout, hardware, software and content, TCL Electronics, as the

brand driving force of the entire TCL display industry chain and a user-centric

company, managed to expand its market share amid negative trend…”).

       12.    In 2019, TCL Electronics also entered into a number of “connected

transactions” with TCL Industries in furtherance of its mutual business interests and

goals, including, but not limited to, (i) a Master Rental (2019-2021) Agreement; (ii) a

Master Sale and Purchase (2019-2021) Agreement; and (iii) a Master Services (2019-2021)

Agreement. See Ex. 1 at p. 109-110.


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          13.    On information and belief, Defendants are operated as a single business

entity and/or in concert with each other to sell, offer to sell, import, market, advertise,

and/or otherwise promote TCL TVs, including the accused infringement products, in

the United States, the State of Texas and this judicial district. On information and belief,

the Defendants share directors, executives and/or employees. For example, Mr. Li

Dongsheng is an Executive Director of TCL Electronics and a Director of TCL

Industries. Ex. 1 at p. 36. Mr. Wang Cheng is the CEO and an Executive Director of TCL

Electronics and the CEO of TCL Industries. Id. at p. 37.

          14.    On information and belief, TCL Industries controls the business decisions

of TCL Electronics and its subsidiaries including, but not limited to, TCL New

Technology, TCL King, TCL Moka, and TCL Moka Manufacturing.

                               JURISDICTION AND VENUE

          15.    This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a) because the action arises under the patent laws of the

United States, 35 U.S.C. §§ 1 et seq.

          16.    TCL is subject to this Court’s personal jurisdiction in accordance with due

process and/or the Texas Long-Arm Statute. See Tex. Civ. Prac. & Rem. Code §§ 17.041

et seq.

          17.    This Court has personal jurisdiction over TCL because TCL has sufficient

minimum contacts with this forum as a result of business conducted within the State of

Texas and this judicial district. In particular, this Court has personal jurisdiction over

TCL because, inter alia, TCL, on information and belief, has substantial, continuous, and


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systematic business contacts in this judicial district, and derives substantial revenue

from goods provided to individuals in this judicial district.

       18.    TCL has purposefully availed itself of the privileges of conducting

business within this judicial district, has established sufficient minimum contacts with

this judicial district such that it should reasonably and fairly anticipate being hauled

into court in this judicial district, has purposefully directed activities at residents of this

judicial district, and at least a portion of the patent infringement claims alleged in this

Complaint arise out of or are related to one or more of the foregoing activities.

       19.    This Court has personal jurisdiction over TCL because TCL (directly

and/or through its subsidiaries, affiliates, or intermediaries) has committed and

continues to commit acts of infringement in this judicial district in violation of at least

35 U.S.C. § 271(a). In particular, on information and belief, TCL uses, sells, offers for

sale, imports, markets, advertises, and/or otherwise promotes the accused infringing

products in the United States, the State of Texas, and this judicial district.

       20.    TCL Electronics’ 2020 interim financial report (“2020 interim financial

report”) discusses the shipment of TCL TVs in the North American markets, which

includes the United States, and market share of TCL TVs in the North American

markets, which includes the United States. Ex. 2 at p. 4, 7. On information and belief,

sales of TCL TVs in the United States make up a majority of TCL’s revenue from the

North American markets.

       21.    The 2020 interim financial report discusses the rise in logistics costs in

North American markets, which includes the United States, on information and belief,


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related to TCL TVs. Id. at 16. With regard to TCL TVs, the 2020 interim financial report

discusses that business in North America with low gross profit (low expenses) grew fast

in the second quarter 2020. Id. at 23. The 2020 interim financial report discusses the sales

volume of TCL TVs in North America, which includes the United States, for the first

quarters of 2018, 2019 and 2020. Id. at 30.

       22.     The 2020 interim financial report reports revenue from the North

American market, which includes the United States, for TCL TVs in 2019 and 2020. Id. at

pp. 51-52. On information and belief, this revenue includes revenue from the sales of the

accused infringing products.




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      23.    TCL Electronics’ 2019 annual financial report (“2019 financial report”)

discusses market share of TCL TVs in the North American markets, which include the

United States. Ex. 1 at p. 13. The 2019 financial report discusses sales volume in North

America, which includes the United States, and production capacity being sufficient to




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meet shipment demand in the North American markets, which include the United

States. Id. at pp. 20, 22.

       24.     The 2019 financial report reports revenue from the North American

market, which includes the United States, for TCL TVs in 2018 and 2019. Id. at pp. 189-

190. On information and belief, this revenue includes revenue from the sales of the

accused infringing products.




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       25.     On information and belief, TTE Technology, Inc. (d/b/a TCL North

America and TCL USA) (“TCL USA”) is the exclusive distributor of TCL TVs, including

the accused infringing products, in the United States, the State of Texas, and this judicial

district. On information and belief, TCL USA is a wholly owned subsidiary of TCL

Electronics. See Ex. 1 at p. 137.




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 Ex. 1 at p. 137


       26.     On information and belief, TCL (directly and/or through its subsidiaries,

affiliates, or intermediaries – including TCL USA) places the accused infringing

products into the stream of commerce knowing they will be sold and used in the State

of Texas and this judicial district. TCL televisions, for example, can be purchased

through retailers throughout the State of Texas and in this judicial district including,

without limitation, Best Buy, Target, Walmart, and Costco.

       27.     On information and belief, TCL maintains control over websites accessible

to residents of the State of Texas and this judicial district, through which TCL promotes

and facilitates sales of the accused infringing products. For example, the website

https://www.tclusa.com directs consumers in the United States, including those in the

State of Texas and this judicial district, to purchase TCL infringing television systems

from online stores, such as Amazon.




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       28.     Customers can also purchase TCL infringing televisions at brick-and-

mortar stores located in this judicial district. For example, and as illustrated below,

customers can order TCL televisions, including the accused infringing TCL TV Model

No. 40S325 (indicated by the yellow box (below)), for in-store pickup at the Best Buy in

Waco, Texas (indicated by the red box).




 https://www.bestbuy.com/site/tcl-40-class-3-series-led-full-hd-smart-roku-
 tv/6302321.p?skuId=6302321


       29.     Moreover, TCL has availed itself of the legal protections of the State of

Texas in multiple lawsuits. For example, in Canon, Inc. v. TCL Electronics Holdings Ltd.

f/k/a/ TCL Multimedia Technology Holdings, Ltd., 2-18-cv-00546 (E.D. Tex.), TCL

Electronics, TCL New Technology, and TCL King were dismissed with prejudice,

through an Order of the Court granting a joint motion to dismiss. In so filing a joint

motion and thereafter obtaining the Order of dismissal with prejudice, TCL – through


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TCL Electronics, TCL New Technology, and TCL King – purposefully availed itself to

the protections, powers and resources of this State. Attached hereto as Exhibit 3 is a true

and correct copy of the Order.

       30.     TCL also availed itself of the legal protections of this State in American

Patents LLC v. TCL Corp., et al., 4:18-cv-767 (E.D. Tex.), where TCL King filed

counterclaims against American Patents LLC. In so doing, TCL – through TCL King –

purposefully availed itself to the protections, powers, and resources of this State.

Attached hereto as Exhibit 4 is a true and correct copy of TCL King’s Answer to and

Counterclaims against American Patents LLC, filed on March 7, 2019.

       31.     TCL also availed itself of the legal protections of this State in Nichia

Corporation v. TCL Multimedia Technology Holdings, Ltd., 2:16-cv-1452-JRG (E.D. Tex.).

TCL Electronics (using its former name, TCL Multimedia Technology Holdings, Ltd.)

was dismissed, with prejudice, through an Order of the Court granting an agreed

stipulation of dismissal. In so filing an agreed stipulation of dismissal and thereafter

obtaining the order of dismissal with prejudice, TCL – through TCL Electronics Holding

Ltd. – purposefully availed itself to the protections, powers, and resources of this State.

Attached hereto as Exhibit 5 is a true and correct copy of the Order Granting Agreed

Stipulation of Dismissal.

       32.     TCL also availed itself of the legal protections of this State in Personalized

Media Communications, LLC, v. TCL Corp. et al., 2:17-cv-443-JRG (E.D. Tex.), where TCL

Electronics (using its former name, TCL Multimedia Technology Holdings, Ltd.) filed

counterclaims against Personalized Media Communications, LLC. In so doing, TCL –


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through TCL Electronics – purposefully availed itself to the protections, powers, and

resources of this State. Attached hereto as Exhibit 6 is a true and correct copy of TCL

Electronics’ Answer to and Counterclaims against Personalized Media

Communications, LLC, filed on December 4, 2017.

       33.     Venue is proper for all Defendants in this judicial district pursuant to 28

U.S.C. §§ 1391(c) and/or 1400(b), and Brunette Mach. Works, Ltd. v. Kockum Indus., Inc.,

406 U.S. 706 (1972). There is no clearly more convenient venue.

                                     BACKGROUND

       34.     In 1989, Jeff Parker and David Sorrells started ParkerVision in

Jacksonville, Florida. Through the mid-1990s, ParkerVision focused on developing

commercial video cameras, e.g., for television broadcasts. The cameras used radio

frequency (RF) technology to automatically track the camera’s subject.

       35.     When developing consumer video cameras, however, ParkerVision,

encountered a problem – the power and battery requirements for RF communications

made a cost effective, consumer-sized product impractical. So, Mr. Sorrels and

ParkerVision’s engineering team began researching ways to solve this problem.

       36.     At the time, a decade’s-old RF technology called super-heterodyne

dominated the consumer products industry. But this technology was not without its

own problems – the circuity was large and required significant power.

       37.     From 1995 through 1998, ParkerVision engineers developed an innovative

method of RF direct conversion by a process of sampling a RF carrier signal and

transferring energy to create a down-converted baseband signal.


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       38.     After creating prototype chips and conducting tests, ParkerVision soon

realized that its technology led to improved RF receiver performance, lower power

consumption, reduced size and integration benefits. In other words, RF receivers could

be built smaller, cheaper and with greater improved performance.

       39.     ParkerVision’s innovations did not stop there. ParkerVision went on to

develop additional RF down-conversion technologies, RF up-conversion technologies

and other related direct-conversion technologies. ParkerVision also developed

complementary wireless communications technologies that involved interactions,

processes, and controls between the baseband processor and the transceiver, which

improved and enhanced the operation of transceivers that incorporate ParkerVision’s

down-converter and up-converter technologies. To date, ParkerVision has been granted

over 200 patents related to its innovations including, the patents-in-suit.

       40.     ParkerVision’s technology helped make today’s wireless devices, such as

televisions, a reality by enabling RF chips used in these devices to be smaller, cheaper,

and more efficient, and with higher performance.

                                           TCL

       41.     TLC is a Chinese multinational electronics company headquartered in

Huizhou, Guangdong Province, China. On information and belief, since at least 2014,

TCL (or those acting on its behalf) has made, used, sold, offered for sale and/or

imported televisions (“TCL Products”) in/into the United States.

https://www.tclusa.com/about-us/press-releases/tcl-celebrates-five-years;

https://www.tclusa.com/products.


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       42.     TCL Products can be purchased through retailers throughout the United

States including, without limitation, Best Buy, Target, Walmart, Costco, BJ Wholesale,

B&H and PC Richards & Sons.

       43.     On information and belief, as of 2019, TCL was the second largest brand of

smart televisions in the United States. https://www.tclusa.com/about-us/press-

releases/tcl-celebrates-five-years.

       44.     TCL Products include modules (e.g., WCOHR2601) containing Wi-Fi chips

including, without limitation, Realtek RT8812BU (each a “TCL Chip”; collectively, the

“TCL Chips”). TCL Chips provide wireless connectivity for TCL Products.

       45.     Below are images from a TCL television model no. 43S425 purchased from

Best Buy.




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     TCL Products include, without limitation, the televisions set forth below.

TV Model No.                             FCC ID
65S427                                   W8U65S427
43S423                                   W8U43S423
55S426                                   W8U55S426
75Q825                                   W8U75Q825
65R625                                   W8U65R625
55S427                                   W8U55S427
55R625                                   W8U55R625
43S525                                   W8U43S525
65S525                                   W8U65S525
55S525                                   W8U55S525
55S423                                   W8U55S423
43S421                                   W8U43S421
50S525                                   W8U50S525
50S423                                   W8U50S423
65S423                                   W8U65S423
75S425                                   W8U75S425
75R615                                   W8U75R615
32S301                                   W8U32S301
55S421                                   W8U55S421
32S325                                   W8U32S325
49S325                                   W8U49S325



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43S325                                     W8U43S325
40S325                                     W8U40S325
32S327                                     W8U32S327
32S425                                     W8U43S425
50S425                                     W8U50S425
49S425                                     W8U49S425
32S321                                     W8U32S321
65S425                                     W8U65S425
55S425                                     W8U55S425
49S403                                     W8U49S403
65S401                                     W8U65S401
43S403                                     W8U43S403
55S401                                     W8U55S401
65S517                                     W8U65S517
55S517                                     W8U55S517
65R613                                     W8U65R613
55R613                                     W8U55R613
49S517                                     W8U49S517
43S517                                     W8U43S517
75C807                                     W8U75C807
49S303                                     W8U49S303
43S303                                     W8U43S303
40S303                                     W8U40S303
28S303                                     W8U28S303
32S303                                     W8U32S303
55C807                                     W8U55C807
65C807                                     W8U65C807


                              THE ASSERTED PATENTS

                           United States Patent No. 6,049,706

      46.     On April 11, 2000, the United States Patent and Trademark Office duly

and legally issued United States Patent No. 6,049,706 (“the ’706 patent”) entitled

“Integrated Frequency Translation and Selectivity” to inventor Robert W. Cook et al.

The ’706 patent is presumed valid under 35 U.S.C. § 282.




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       47.     The ’706 patent is presumed valid under 35 U.S.C. § 282.

       48.     ParkerVision owns all rights, title, and interest in the ’706 patent.

                            United States Patent No. 6,266,518

       49.     On July 24, 2001, the United States Patent and Trademark Office duly and

legally issued United States Patent No. 6,266,518 (“the ’518 patent”) entitled “Method

and System for Down-Converting Electromagnetic Signals by Sampling and Integrating

Over Apertures” to inventor David F. Sorrells et al.

       50.     The ’518 patent is presumed valid under 35 U.S.C. § 282.

       51.     ParkerVision owns all rights, title, and interest in the ’518 patent.

                            United States Patent No. 6,580,902

       52.     On June 17, 2003, the United States Patent and Trademark Office duly and

legally issued United States Patent No. 6,580,902 (“the ’902 patent”) entitled “Frequency

Translation Using Optimized Switch Structures” to inventor David F. Sorrells et al.

       53.     The ’902 patent is presumed valid under 35 U.S.C. § 282.

       54.     ParkerVision owns all rights, title, and interest in the ’902 patent.

                              United States Patent No. 7,110,444

       55.     On September 19, 2006, the United States Patent and Trademark Office

duly and legally issued United States Patent No. 7,110,444 (“the ’444 patent”) entitled

“Wireless Local Area Network (WLAN) Using Universal Frequency Translation

Technology Including Multi-Phase Embodiments and Circuit Implementations” to

inventor David F. Sorrells et al.

       56.     The ’444 patent is presumed valid under 35 U.S.C. § 282.


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      57.     ParkerVision owns all rights, title, and interest in the ’444 patent.

                             United States Patent No. 7,292,835

      58.     On November 6, 2007, the United States Patent and Trademark Office

duly and legally issued United States Patent No. 7,292,835 (“the ’835 patent”) entitled

“Wireless and Wired Cable Modem Applications of Universal Frequency Translation

Technology” to inventor David F. Sorrells et al.

      59.     The ’835 patent is presumed valid under 35 U.S.C. § 282.

      60.     ParkerVision owns all rights, title, and interest in the ’835 patent.

                           United States Patent No. 8,588,725

      61.     On November 19, 2013, the United States Patent and Trademark Office

duly and legally issued United States Patent No. 8,588,725 (“the ’725 patent”) entitled

“Apparatus, System, and Method For Down Converting and Up-Converting

Electromagnetic Signals” to inventor David F. Sorrells et al.

      62.     The ’725 patent is presumed valid under 35 U.S.C. § 282.

      63.     ParkerVision owns all rights, title, and interest in the ’725 patent.

                           United States Patent No. 8,660,513

      64.     On February 25, 2014, the United States Patent and Trademark Office duly

and legally issued United States Patent No. 8,660,513 (“the ’513 patent”) entitled

“Method and System for Down-Converting an Electromagnetic Signal, and Transforms

for Same, and Aperture Relationships” to inventor David F. Sorrells et al.

      65.     The ’513 patent is presumed valid under 35 U.S.C. § 282.

      66.     ParkerVision owns all rights, title, and interest in the ’513 patent.


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                            United States Patent No. 9,118,528

       67.     On August 25, 2015, the United States Patent and Trademark Office duly

and legally issued United States Patent No. 9,118,528 (“the ’528 patent”) entitled

“Method and System for Down-Converting an Electromagnetic Signal, and Transforms

for Same, and Aperture Relationships” to inventor David F. Sorrells et al.

       68.     The ’528 patent is presumed valid under 35 U.S.C. § 282.

       69.     ParkerVision owns all rights, title, and interest in the ’528 patent.

                            United States Patent No. 9,246,736

       70.     On January 26, 2016, the United States Patent and Trademark Office duly

and legally issued United States Patent No. 9,246,736 (“the ’736 patent”) entitled

“Method and System for Down-Converting an Electromagnetic Signal” to inventor

David F. Sorrells et al.

       71.     The ’736 patent is presumed valid under 35 U.S.C. § 282.

       72.     ParkerVision owns all rights, title, and interest in the ’736 patent.

                            United States Patent No. 9,444,673

       73.     On September 13, 2016, the United States Patent and Trademark Office

duly and legally issued United States Patent No. 9,444,673 (“the ’673 patent”) entitled

“Methods and Systems for Down-Converting a Signal Using a Complementary

Transistor Structure” to inventor David F. Sorrells et al.

       74.     The ’673 patent is presumed valid under 35 U.S.C. § 282.

       75.     ParkerVision owns all rights, title, and interest in the ’673 patent.




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                                  CLAIMS FOR RELIEF

              COUNT I - Infringement of United States Patent No. 6,049,706

       76.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       77.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’706 patent by making, using, selling, offering for sale, and/or importing in/into

the United States products covered by at least claim 1 of the ’706 patent.

       78.     TCL products that infringe one or more claims of the ’706 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

filtering and down-converting a higher-frequency signal to a lower-frequency signal as

claimed in the ’706 patent.

       79.     Each TCL Chip is/includes an apparatus for filtering and down-

converting (e.g., a higher frequency RF signal to a lower frequency signal). Each TCL

Chip includes a frequency translator, comprising a down-convert and delay module

(e.g., module including one or more switches, capacitors, and resistors) to under-sample

an input signal (e.g., high frequency RF signal) to produce an input sample of a down-

converted image of said input signal, and to delay said input sample.

       80.     Each TCL Chip also includes a filter, comprising at least a portion of said

down-convert and delay module, at least one delay module (e.g., module having one or

more capacitors) to delay instances of an output signal, and an adder (e.g., feedback

capacitor of an operational amplifier) to combine at least said delayed input sample




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with at least one of said delayed instances of said output signal to generate an instance

of said output signal.

       81.     The down-convert and delay module under-samples (e.g., at a sample rate

below the Nyquist rate) said input signal according to a control signal (e.g., local

oscillator (LO) signal), wherein a frequency of said control signal is equal to a frequency

of said input signal plus or minus a frequency of said down-converted image, divided

by n, where n represents a harmonic or sub-harmonic of said input signal.

       82.     ParkerVision has been damaged by the direct infringement of TCL and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

             COUNT II – Infringement of United States Patent No. 6,266,518

       83.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       84.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’518 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 67 of the ’518 patent.

       85.     TCL products that infringe one or more claims of the ’518 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’518 patent.

       86.     Each TCL Chip is/includes an apparatus for down-converting a carrier

signal (e.g., high frequency RF signal) to a lower frequency signal (e.g., baseband


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signal). Each TCL Chip has a universal frequency down-converter (UFD), including a

switch (e.g., transistor(s)), an integrator (e.g., feedback capacitor of an operational

amplifier) coupled to the switch, a pulse generator (e.g., LO and/or LO circuitry)

coupled to the switch; and a reactive structure (e.g., filter(s) having variable resistor-

capacitor networks) coupled to the UFD.

       87.     The pulse generator (e.g., LO and/or LO circuitry) outputs pulses (e.g.,

pulses of an LO control signal) to the switch at an aliasing rate that is determined

according to a frequency of the carrier signal +/− a frequency of the lower frequency

signal) divided by N.

       88.     The pulses have apertures (e.g., 25% duty cycle) and cause the switch to

close and sample the carrier signal (e.g., high frequency RF signal). During an aperture

of the LO control signal, the switch closes and energy from the carrier signal is

transferred through the switch. Between each aperture of the LO control signal, the

switch remains open, thereby preventing the flow of energy through the switch.

Successive pulses of the LO control signal, therefore, recursively close/open the switch.

The recursive closing/opening of the switch samples the carrier signal.

       89.     Each TCL Chip is/includes an apparatus wherein energy is transferred

from the carrier signal (e.g., high frequency RF signal) and integrated using the

integrator (e.g., feedback capacitor of an operational amplifier) during apertures of the

pulses. The switch periodically opens and closes according to the LO control signal.

During an aperture of the LO control signal, for example, the switch closes and energy

from the carrier signal is directed to a feedback capacitor of an operational amplifier.


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The closing of the switch, therefore, results in the feedback capacitor acquiring energy

during apertures of the LO control signal.

       90.     Each TCL Chip is/includes an apparatus wherein the lower frequency

signal (e.g., baseband signal) is generated from the transferred energy.

       91.     Each TCL Chip is/includes an apparatus wherein the energy is

transferred to a load (e.g., passive and/or active filter(s)) during an off-time (e.g., when

the switch is open). Between each aperture of the LO control signal, the switch remains

open and energy is discharged from the feedback capacitor into a subsequent load, such

as subsequent passive and/or active filters.

       92.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

             COUNT III – Infringement of United States Patent No. 6,580,902

       93.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       94.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’902 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 1 of the ’902 patent.

       95.     TCL products that infringe one or more claims of the ’902 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’902 patent.


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       96.     Each TCL Chip is/includes a circuit for down-converting an

electromagnetic signal (e.g., high frequency RF signal) to a lower frequency signal. Each

TCL Chip includes an energy transfer module having a switch module (e.g., module

with one or more switches) and an energy storage module (e.g., module with one or

more capacitors). The energy transfer module of the TCL Chip samples the

electromagnetic signal at an energy transfer rate (e.g., LO rate with a 25% duty cycle),

according to an energy transfer signal (e.g., LO signal), to obtain sampled energy. The

sampled energy is stored by said energy storage module (e.g., module with one or more

capacitors).

       97.     Each TCL Chip is/includes a circuit wherein a down-converted signal

(e.g., baseband signal) is generated from the sampled energy. The recursive

closing/opening of the switching module samples the carrier signal according to the

energy transfer signal. During an aperture of the energy transfer signal, for example, the

switch module closes and energy from the electromagnetic signal is directed to the

energy storage module. Between apertures of the energy transfer signal, the switch

module remains open, preventing the flow of energy through the switch module and

consequently discharging energy stored in storage module. The down-converted signal

(e.g., baseband signal) is generated from the sampled energy, e.g., transferred to the

storage module during apertures of the energy transfer signal and discharged between

apertures.

       98.     The energy transfer module of each TCL Chip has transistors coupled

together. The transistors have a common first port, a common second port, and a


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common control port. The electromagnetic signal is accepted at the common first port

and the sampled energy is present at the common second port.

       99.      The common control port accepts the energy transfer signal, which has a

control frequency that is substantially equal to said energy transfer rate.

       100.     Each of the transistors of the TCL Chip has a drain, a source, and a gate.

The common first port couples together drains of the transistors, the common second

port couples together sources of the transistors, and the common control port couples

together gates of the transistors.

       101.     ParkerVision has been damaged by the direct infringement of TCL and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

              COUNT IV - Infringement of United States Patent No. 7,110,444

       102.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       103.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’444 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 2 of the ’444 patent.

       104.     TCL products that infringe one or more claims of the ’444 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’444 patent.




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          105.     Each TCL Chip is/includes a wireless modem apparatus (e.g., a

modulation/demodulation device providing bi-directional, over-the-air data

transmission) having a receiver for frequency down-converting an input signal (e.g.,

high frequency RF signal). The receiver for frequency down-converting an input signal

includes a first frequency down-conversion module to down-convert the input signal,

wherein said first frequency down-conversion module down-converts said input signal

according to a first control signal (e.g., LO signal) and outputs a first down-converted

signal (e.g., baseband signal); a second frequency down-conversion module to down-

convert said input signal, wherein said second frequency down-conversion module

down-converts said input signal according to a second control signal (e.g., LO signal)

and outputs a second down-converted signal (e.g., baseband signal); and a subtractor

module (e.g., module with differential amplifier) that subtracts said second down-

converted signal from said first down-converted signal and outputs a down-converted

signal.

          106.     The first frequency down-conversion module under-samples (e.g., at a

sample rate below the Nyquist rate) the input signal according to the first control signal,

and the second frequency down-conversion module under-samples (e.g., at a sample

rate below the Nyquist rate) the input signal according to said second control signal.

          107.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.




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              COUNT V - Infringement of United States Patent No. 7,292,835

       108.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       109.     TCL directly infringes the ’835 patent by making, using, selling, offering

for sale, and/or importing in/into the United States products covered by at least claims

1 and 17 of the ’835 patent.

       110.     TCL products that infringe one or more claims of the ’835 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’835 patent.

       111.     TCL Products enable users to watch live TV and on demand

programming from their cable service providers over a wireless network.

https://support.tclusa.com/televisions-setup-configurations/258975-how-to-connect-

your-tcl-roku-tv-to-the-internet; https://www.tclusa.com/top-tv-apps. TCL Chips are

configured to function/capable of functioning as wireless cable modems. For example,

TCL Chips provide a wireless connection to cable services.

       112.     Each TCL Chip is/includes a cable modem (e.g., wireless modem for

communicating with a cable television network) for down-converting an

electromagnetic signal (e.g., a high frequency RF signal), having complex modulations

(e.g., QAM)), to a lower frequency signal. The electromagnetic signal is transmitted by a

wireless method to the cable modem.




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          113.     Each TCL Chip has (a) an oscillator (e.g., LO) to generate an in-phase

oscillating signal (e.g., in-phase LO signal), (b) a phase shifter (e.g., a flip-flop) to receive

the in-phase oscillating signal and to create a quadrature-phase oscillating signal (e.g.,

quadrature-phase LO signal), (c) a first frequency down-conversion module (e.g., a first

module that includes at least one switch and at least one capacitor) to receive the

electromagnetic signal and the in-phase oscillating signal and (d) a second frequency

down-conversion module (e.g., a second module that includes at least one switch and at

least one capacitor) to receive the electromagnetic signal and the quadrature-phase

oscillating signal.

          114.     The first frequency down-conversion module includes a first frequency

translation module (e.g., a module having one or more switches) and a first storage

module (e.g., a module having one or more capacitors). The first frequency translation

module samples the electromagnetic signal at a rate (e.g., LO with a 25% duty cycle)

that is a function of the in-phase oscillating signal, thereby creating a first sampled

signal.

          115.     The second frequency down-conversion module includes a second

frequency translation module (e.g., a module having one or more switches) and a

second storage module (e.g., a module having one or more capacitors). The second

frequency translation module samples the electromagnetic signal at a rate (e.g., LO rate

with a 25% duty cycle) that is a function of the quadrature-phase oscillating signal,

thereby creating a second sampled signal.




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       116.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

              COUNT VI - Infringement of United States Patent No. 8,588,725

       117.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       118.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’725 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 1 of the ’725 patent.

       119.     TCL products that infringe one or more claims of the ’725 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’725 patent.

       120.     Each TCL Chip is/includes an apparatus for down-converting an

electromagnetic signal (e.g., high frequency RF signal) to a lower frequency signal. Each

TCL Chip has an aliasing module comprising a switching device (e.g., one or more

transistors) and a storage module (e.g., module having one or more capacitors). The

aliasing module receives as an input an RF information signal and provides as an

output a down-converted signal. The switching device of the aliasing module receives

as an input a control signal (e.g., LO signal) that controls a charging and discharging

cycle of the storage module by controlling the switching device so that a portion of

energy is transferred from the RF information signal to the storage module during a


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charging part of the cycle and a portion of the transferred energy is discharged during a

discharging part of the cycle.

       121.     As an example, the switching device samples the RF information signal

according to an LO control signal. In particular, the switching device periodically opens

and closes to control the current flow of RF information signal in the circuit. The time

period for which switching device is open/closed is determined by the LO control

signal. During an aperture of the LO control signal, for example, the switching device

closes and energy from RF information signal is directed to the storage module.

Between each aperture of the LO control signal, the switching device remains open,

preventing the flow of energy through the switch and consequently discharging energy

stored in the storage module. The sampling, charging, and discharging process

provides the down-converted signal as an output of the aliasing module.

       122.     The control signal operates at an aliasing rate (e.g., LO rate with a 25%

duty cycle) selected so that energy of the RF information signal is sampled and applied

to the storage module at a frequency that is equal to or less than twice the frequency of

the RF information signal. The storage module generates the down-converted signal

from the alternate charging and discharging applied to the storage module using the

control signal.

       123.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.




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              COUNT VII - Infringement of United States Patent No. 8,660,513

       124.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       125.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’513 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 19 of the ’513 patent.

       126.     TCL products that infringe one or more claims of the ’513 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’513 patent.

       127.     Each TCL Chip is/includes a system for frequency down-converting a

modulated carrier signal (e.g., a high frequency RF signal) to a lower frequency signal.

Each TCL Chip has (a) a first switch (e.g., transistor), (b) a first control signal (e.g., LO

signal) which comprises a sampling aperture (e.g., 25% duty cycle) with a specified

frequency, and (c) a first energy storage element (e.g., one or more capacitors) that

down-converts the modulated carrier signal according to the first control signal and

outputs a down-converted in-phase signal portion of the modulated carrier signal.

       128.     Each TCL Chip has (a) a second switch (e.g., transistor), (b) a second

control signal (e.g., LO signal) which comprises a sampling aperture (e.g., 25% duty

cycle) with a specified frequency, and (c) a second energy storage element (e.g., one or

more capacitors) that down-converts the modulated carrier signal according to the




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second control signal and outputs a down-converted inverted in-phase signal portion of

the modulated carrier signal.

       129.     Each TCL Chip has a first differential amplifier circuit that combines the

down-converted in-phase signal portion with the inverted in-phase signal portion and

outputs a first channel down-converted differential in-phase signal.

       130.     Each TCL Chip has (a) a third switch (e.g., transistor), (b) a third control

signal (e.g., LO signal) which comprises a sampling aperture (e.g., 25% duty cycle) with

a specified frequency, and (c) a third energy storage element (e.g., one or more

capacitors) that down-converts the modulated carrier signal according to the third

control signal and outputs a down-converted quadrature-phase signal portion of the

modulated carrier signal.

       131.     Each TCL Chip has (a) a fourth switch (e.g., transistor), (b) a fourth

aperture signal (e.g., LO signal), and (c) a fourth energy storage element (e.g., one or

more capacitors) that down-converts the modulated carrier signal according to the

fourth control signal and outputs a down-converted inverted quadrature-phase signal

portion of the modulated carrier signal.

       132.     Each TCL Chip has a second differential amplifier circuit that combines

the down-converted quadrature-phase signal portion with the inverted quadrature-

phase signal portion and outputs a second channel down-converted differential

quadrature-phase signal.




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          133.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

             COUNT VIII – Infringement of United States Patent No. 9,118,528

          134.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

          135.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’528 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 1 of the ’528 patent.

          136.     TCL products that infringe one or more claims of the ’528 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’528 patent.

          137.     Each TCL Chip is/includes a system for frequency down-converting a

modulated carrier signal (e.g., high frequency RF signal) to a baseband signal. Each TCL

Chip includes a first switch (e.g., transistor) coupled to a first control signal (e.g., LO

signal) which comprises a sampling aperture (e.g., 25% duty cycle) with a specified

frequency, wherein the first switch is on and a portion of energy that is distinguishable

from noise is transferred from the modulated carrier signal (e.g., high frequency RF

signal) as an output of said first switch during the sampling aperture of the first control

signal.




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          138.     Each TCL Chip includes a first energy storage element (e.g., one or more

capacitors) that stores the transferred energy from the modulated carrier signal and

outputs a down-converted in-phase baseband signal portion of said modulated carrier

signal.

          139.     Each TCL Chip includes a second switch (e.g., transistor) coupled to a

second control signal (e.g., LO signal) which comprises a sampling aperture (e.g., 25%

duty cycle) with a specified frequency, wherein the second switch is on and a portion of

energy that is distinguishable from noise is transferred from the modulated carrier

signal (e.g., high frequency RF signal) as an output of said second switch during the

sampling aperture of the second control signal.

          140.     Each TCL Chip includes a second energy storage element (e.g., one or

more capacitors) that stores the transferred energy from the modulated carrier signal

and outputs a down-converted inverted in-phase baseband signal portion of said

modulated carrier signal.

          141.     The portions of transferred energy from each of the first and second

switch are integrated over time to accumulate said portions of transferred energy from

which said down-converted in-phase baseband signal portion and said down-converted

inverted in-phase baseband signal portion are derived.

          142.     Each TCL Chip includes a first differential amplifier circuit that combines

said down-converted in-phase baseband signal portion with said down-converted

inverted in-phase baseband signal portion and outputs a first channel down-converted

differential in-phase baseband signal.


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       143.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

              COUNT IX - Infringement of United States Patent No. 9,246,736

       144.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       145.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’736 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 1 of the ’736 patent.

       146.     TCL products that infringe one or more claims of the ’736 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’736 patent.

       147.     Each TCL Chip is/includes a system for frequency down-converting a

modulated carrier signal (e.g., high frequency RF signal) to a demodulated baseband

signal. Each TCL Chip has a first switch (e.g., transistor) coupled to a first control signal

(e.g., LO signal) which comprises a first sampling aperture (e.g., 25% duty cycle) with a

specified frequency, wherein the first switch is on during the first sampling aperture

and wherein the first switch is off outside the first sampling aperture.

       148.     Each TCL Chip has a first energy storage element (e.g., one or more

capacitors), coupled to said first switch, that outputs a down-converted in-phase

baseband signal portion of the modulated carrier signal.


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      149.     Each TCL Chip has a second switch (e.g., transistor) coupled to a second

control signal (e.g., LO signal) which comprises a second sampling aperture (25% duty

cycle) with a specified frequency, wherein the second switch is on during the second

sampling aperture and wherein the first switch is off outside the second sampling

aperture.

      150.     Each TCL Chip has a second energy storage element (e.g., one or more

capacitors), coupled to the second switch, that outputs a down-converted inverted in-

phase baseband signal portion of the modulated carrier signal.

      151.     The first and second control signals each control a charging and

discharging cycle of their respective energy storage element so that for each switch a

portion of energy from the modulated carrier signal is transferred to the respective

energy storage element when the respective switch is on during the charging cycle, and

a portion of previously transferred energy is discharged during the discharging cycle

for each respective switch when the respective switch is off.

      152.     For each respective energy storage element, the energy discharged during

any given discharge cycle is not completely discharged, with the remaining

undischarged energy from the given discharge cycle becoming an initial condition for a

next charging cycle that begins immediately following the given discharge cycle.

      153.     The down-converted in-phase baseband signal portion is derived from

energy accumulated at the first energy storage element during both the charging and

the discharging cycles for the first energy storage element. The down-converted

inverted in-phase baseband signal portion is derived from energy accumulated at the


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second energy storage element during both the charging and the discharging cycles for

the second energy storage element.

       154.     Each TCL Chip has a first differential amplifier circuit that combines the

down-converted in-phase baseband signal portion with the down-converted inverted

in-phase baseband signal portion and outputs a first channel down-converted

differential in-phase baseband signal.

       155.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.

              COUNT X - Infringement of United States Patent No. 9,444,673

       156.     The allegations set forth above are re-alleged and incorporated by

reference as if they were set forth fully here.

       157.     TCL directly infringes (literally and/or under the doctrine of equivalents)

the ’673 patent by making, using, selling, offering for sale, and/or importing in/into the

United States products covered by at least claim 1 of the ’673 patent.

       158.     TCL products that infringe one or more claims of the ’673 patent include,

but are not limited to, the TCL Products and any other TCL device that is capable of

down-converting a higher-frequency signal to a lower-frequency signal as claimed in

the ’673 patent.

       159.     Each TCL Chip is/includes an apparatus for down-converting an input

modulated carrier signal (e.g., high frequency RF signal) to a demodulated baseband




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signal, wherein the modulated carrier signal has an amplitude variation, a phase

variation, a frequency variation, or a combination thereof.

       160.     Each TCL Chip has a frequency down-conversion module that has a

switch (e.g., transistor), a capacitor coupled to said switch, and a pulse generator (e.g.,

LO) coupled to the switch. The pulse generator outputs pulses to the switch at a rate

(e.g., LO rate with a 25% duty cycle) that is a function of a frequency of the modulated

carrier signal and a frequency of the demodulated baseband signal determined

according to: (the frequency of the modulated carrier signal +/− a frequency of the

demodulated baseband signal) divided by N, where N is any integer including 1.

       161.     The pulses have apertures and the pulses cause the switch to open outside

of the apertures and cause the switch to close and sample the modulated carrier signal

during the apertures by transferring energy from the modulated carrier signal and

accumulating the transferred energy in the capacitor each time the switch is closed.

       162.     Some of the previously accumulated energy is discharged from the

capacitor into load circuitry (e.g., a resistor and/or differential amplifier) each time said

switch is open. The demodulated baseband signal is generated from (a) the

accumulating of the energy transferred to the capacitor each time the switch is closed

and (b) the discharging of the some of the previously accumulated energy into the load

circuitry each time the switch is opened.

       163.     ParkerVision has been damaged by the direct infringement of TCL, and is

suffering and will continue to suffer irreparable harm and damages as a result of this

infringement.


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                                    JURY DEMANDED

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, ParkerVision

hereby requests a trial by jury on all issues so triable.

                                   PRAYER FOR RELIEF

       WHEREFORE, ParkerVision respectfully requests that the Court enter judgment

in its favor and against TCL as follows:

       a.     finding that TCL directly infringes one or more claims of each of the

              patents-in-suit;

       b.     awarding ParkerVision damages under 35 U.S.C. § 284, or otherwise

              permitted by law, including supplemental damages for any continued

              post-verdict infringement;

       c.     awarding ParkerVision pre-judgment and post-judgment interest on the

              damages award and costs;

       d.     awarding cost of this action (including all disbursements) and attorney

              fees pursuant to 35 U.S.C. § 285, or as otherwise permitted by the law; and

       e.     awarding such other costs and further relief that the Court determines to

              be just and equitable.




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Dated: October 12, 2020

                                        THE MORT LAW FIRM, PLLC
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